Case 2:20-cv-00747-JCC Document 47-2 Filed 01/28/21 Pagelof2

RECEIVE
KING COUNTY WASHINGTON

MAR 16 2020

KNT DEPARTMENT OF

JUDICIAL ADMINISTRATION Ciking West CIOICW

CwWhite Center CIMLK
CiKing East ElKing South

Superior Court of Washington
County of King, Juvenile Court

Dependency of: (I er aaa
Order to Take Child Into Custody and

DOB: Place in Shelter Care
(ORTCC)

No: 20-7-00666-0 KNT

I. Basis
The court has considered a motion, statement and declaration requesting an order to take the
above-named child into custody.

ll. Findings

21 A petition has been filed with the court alleging that the child is dependent pursuant to
RCW 13.34.030.

2.2 It is currently contrary to the child’s welfare for the child to remain at home. The petition
and/or supporting declarations and affidavits establish reasonable grounds to believe
that the child is dependent and that, if the child is not taken into custody, the child’s
health, safety, and welfare will be seriously endangered.

2.3 The petitioner has demonstrated that there is a risk of imminent harm to the child in the
child’s home. The assessment of risk by petitioner constitutes reasonable efforts to
prevent or eliminate the need for removal of the child from the child’s home and:

C) because of the risk of imminent harm to the child, there are no reasonably available
services that can be provided to the parent(s) to maintain the child in the child’s home at
is time;
services previously offered or provided to the parent(s) have not.remedied the unsafe
conditions in the home;
C) petitioner is currently unaware of any parent, guardian, or legal custodian known who
is available to take custody of the child; and/or

C Other:
Order Taking Child into Custody / Place in Shelter Care (ORTCC) — King County Page 1 of 2
WPF JU 02.0110 ---- JuCR 2.1, 2.2; RCW 13.34.030, .050, .060 Feb 2010

002-00000001
Case 2:20-cv-00747-JCC Document 47-2 Filed 01/28/21 Page 2of2

Ill. Order

3.1 A law enforcement officer, probation counselor, or child protective services worker shall
take the above named minor child into custody and place the child in a facility licensed
pursuant to RCW 74.15.030, or in a home not required to be licensed pursuant to that
section, under the supervision of (name of DSHS or Supervising Agency):

3.2 The supervising agency may authorize evaluations of the child’s physical or emotional
condition, routine medical and dental examination and care, and all necessary
emergency care.

3.3 The child shall remain in shelter care for not more than 72 hours from the time the child

is taken into custody, excluding Saturdays, Sundays, and holidays, unless the court
enters an order authorizing continued shelter.

MAR 1 6 2020 At

Dated Jutige / Gemmissiones-

Presented by:

Mu

Signature

Quyet Le, MSW
Print Name & Title

Order Taking Child into Custody / Place in Shelter Care (ORTCC) — King County Page 2 of 2
WPF JU 02.0110 —— JuCR 2.1, 2.2; RCW 13.34.030, .050, .060 Feb 2010

002-00000002
